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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 IMPACT RTO FLORIDA, LLC,

                      Petitioner,

 v.                                                  Case No: 6:21-cv-2098-ACC-EJK

 GREGORY BAKER

                      Respondent.



                                   INITIAL CASE ORDER

        For a just and efficient resolution of this case, the parties are DIRECTED to

read and comply with the Middle District of Florida’s Local Rules. See Local Rule

1.01(a). While not exhaustive, this Order establishes deadlines for filings required at

the initial stages of an action.

        This Court makes an active effort to review each case to identify parties and

 interested corporations in which the assigned District Judge or Magistrate Judge

 may have an interest, and for other matters that might require consideration of

 recusal. Compliant with Local Rule 3.03, within fourteen (14) days from the day

 of this Order or, if a party joins this action subsequent to the entry of this Order,

 from the date of a party’s first appearance, each party, pro se party, governmental

 party, intervenor, non-party movant, and Rule 69 garnishee is DIRECTED to file
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and serve a Certificate of Interested Persons and Corporate Disclosure Statement

substantially in the form attached. 1 Each party has a continuing obligation to file

nd serve an amended certificate within fourteen (14) days of discovering any

ground for amendment, for conflict of interest, for recusal, or for disqualification

of the judicial officer. See Local Rule 3.03.

       No later than fourteen (14) days from the date of this Order, counsel and

any pro se party shall comply with Local Rule 1.07(c) and shall file and serve a

certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.07. The parties shall utilize the attached

form titled Notice of Pendency of Other Actions.

       The parties are DIRECTED to consult Local Rule 3.02 to determine whether

this action requires a case management conference and report, or if it falls under

one of the exceptions listed in Local Rule 3.02(d). If a case management report is

required, the parties shall use the Case Management Report form located at the




       1 No party may seek discovery from any source before filing and serving a Certificate of

Interested Persons and Corporate Disclosure Statement. A motion, memorandum, response, or
other paper (including emergency motions) may be denied or stricken unless the filing party has
previously filed and served a Certificate of Interested Persons and Corporate Disclosure
Statement.
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Court’s website www.flmd.uscourts.gov/judges under the “Forms” tab for “The

Honorable Anne C. Conway.”

      DONE and ORDERED in Orlando, Florida on December 16, 2021.


                                                ANNE C. CONWAY
                                               Anne C. Conway [22]
                                             United States District Judge


Copies to:   All Counsel of Record
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

IMPACT RTO FLORIDA, LLC,

                    Petitioner,

v.                                                   Case No: 6:21-cv-2098-ACC-EJK

GREGORY BAKER,

                    Respondent.


___________________________________

                    NOTICE OF PENDENCY OF OTHER ACTIONS


      In accordance with Local Rule 1.07(c), I certify that the instant action is related
to pending or closed civil or criminal case(s) previously filed in this Court, or any
other Federal or State court, or administrative agency as indicated below:




      I further certify that I will serve a copy of this Notice of Pendency of Other
Actions upon each party no later than fourteen days after appearance of the party.

Dated:


Counsel of Record or Pro Se Party
  [Address and Telephone]
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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

[INSERT CAPTION OF THE CASE]
                                        CERTIFICATE OF INTERESTED PERSONS
                                       AND CORPORATE DISCLOSURE STATEMENT

       I hereby disclose the following pursuant to this Court’s Order on Interested Persons and
Corporate Disclosure:

1.)     The name of each person, attorney, association of persons, firm, law firm, partnership, and
corporation that has or may have an interest in the outcome of this action — including subsidiaries,
conglomerates, affiliates, parent corporations, publicly-traded companies that own 10% or more of a
party’s stock, all other identifiable legal entities related to any party in the case, and all members of any
LLC including their citizenship:
         [insert list] 1

2.)     The name of every other entity whose publicly-traded stock, equity, or debt may be substantially
affected by the outcome of the proceedings:
        [insert list]

3.)    The name of every other entity which is likely to be an active participant in the proceedings,
including the debtor and members of the creditors’ committee (or twenty largest unsecured creditors) in
bankruptcy cases:
        [insert list]

4.)   The name of each victim (individual or corporate) of civil and criminal conduct alleged to be
wrongful, including every person who may be entitled to restitution:
      [insert list]

5)       Check one of the following:

           _____        a. I certify that I am unaware of any actual or potential conflict of interest involving
the District Judge and Magistrate Judge assigned to this case and will immediately notify the Court in
writing upon learning of any such conflict.
        - or -
           _____        b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
Magistrate Judge as follows:
        [insert explanation]


[Date]                                                      _____________________________
                                                            [Counsel of Record or Pro Se Party]
                                                                  [Address and Telephone]
[Certificate of Service]




         A party should not routinely list the assigned District Judge or Magistrate Judge as an
         1

interested person absent some non judicial interest.
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                               Middle District of Florida

                IMPACT RTO FLORIDA, LLC                                         )
                                Plaintiff
                                                                                )
                             v.                                                 )     Civil Action No.      6:21-cv-2098-ACC-EJK
                       GREGORY BAKER                                            )
                               Defendant                                        )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

              IMPACT RTO FLORIDA, LLC                                          )
                               Plaintiff                                       )
                           v.                                                  )        Civil Action No. 6:21-cv-2098-ACC-EJK
                     GREGORY BAKER                                             )
                             Defendant                                         )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title) .


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                     District Judge’s signature


                                                                                                      Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
